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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                  No. 4:08CR00230-02 JLH

SHARRODERICK DUNN                                                                   DEFENDANT


                                             ORDER

        A notice of hearing was entered on June 25, 2009, setting sentencing for defendant

Sharroderick Dunn for Monday, July 13, 2009, at 2:15 p.m. Counsel for the government and the

United States Probation Officer were present on this date for the hearing. Neither Mr. Dunn, nor his

attorney John Stratford, appeared for the hearing. The probation officer contacted defendant, who

indicated that he was unaware of the hearing. Mr. Stratford was unable to be reached.

        IT IS THEREFORE ORDERED that sentencing for defendant Sharroderick Dunn is hereby

rescheduled for MONDAY, JULY 20, 2009, at 9:00 a.m., in Courtroom 4-D, Richard Sheppard

Arnold United States Courthouse, 500 West Capitol Avenue, Little Rock, Arkansas.

        The probation officer is directed to notify defendant of the new sentencing date. The Clerk

is instructed to mail a copy of this order to Mr. Stratford via U.S. Mail, in addition to the CM/ECF

notification.

        IT IS SO ORDERED this 13th day of July, 2009.



                                                     ___________________________________
                                                     J. LEON HOLMES
                                                     UNITED STATES DISTRICT JUDGE
